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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY



                                                               Civil Action No. 20-18140
 FEDERAL TRADE COMMISSION,

                 Plaintiff,                                             ORDER
         v.
 HACKENSACK MERIDIAN HEALTH, INC.
 and ENGLEWOOD HEALTHCARE
 FOUNDATION,

                 Defendants.


 John Michael Vazquez, U.S.D.J.

         For the reasons stated in the accompanying Opinion, and for good cause shown,

         IT IS on this 4th day of August 2021,

         ORDERED that Plaintiff’s motion for a preliminary injunction, D.E. 133, is GRANTED;

 and it is further

         ORDERED that pursuant to Section 13(b) of the Federal Trade Commission Act, 15

 U.S.C. § 53(b), and Section 16 of the Clayton Act, 15 U.S.C. § 26, Defendants are preliminarily

 enjoined from consummating their proposed merger until the full administrative proceeding on the

 merits; and it is further

         ORDERED that Plaintiff’s motion in limine to exclude certain expert testimony, D.E. 248,

 is DENIED; and it is further

         ORDERED that Defendants’ motion in limine to exclude certain expert testimony, D.E.

 264, is GRANTED in part and DENIED in part; and it is further

         ORDERED that the accompanying Opinion shall initially be filed under seal because

 portions of the underlying motions and testimony are sealed. By August 18, 2021, the parties shall
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 inform the Court in writing as to which portions of the Opinion should remain under seal and the

 legal basis for doing so. The parties shall also provide the Court with a redacted version of the

 Opinion to be filed on the docket in this matter. If the parties do not do so by August 18, 2021,

 then the entire Opinion will be unsealed.



                                             ______________________________
                                             John Michael Vazquez, U.S.D.J.
